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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Lynchburg Division


  LEAGUE OF WOMEN VOTERS OF
  VIRGINIA;    KATHERINE  D.
  CROWLEY; ERIKKA GOFF; and
  SEIJRA TOOGOOD,
                                                     Case No. 6:20-cv-00024-NKM
                    Plaintiffs,

              v.

  VIRGINIA      STATE      BOARD        OF
  ELECTIONS; ROBERT H. BRINK,
  JOHN O’BANNON, and JAMILAH D.
  LECRUISE, in their official capacities as
  Chairman, Vice-Chair, and Secretary of
  the Virginia State Board of Elections,
  respectively; and CHRISTOPHER E.
  PIPER, in his official capacity as
  Commissioner of the Virginia Department
  of Elections,

                    Defendants.



                   PLAINTIFFS’ UNOPPOSED MOTION TO DROP ERIKKA
                       GOFF AS A PARTY UNDER FED. R. CIV. P. 21


         Plaintiffs League of Women Voters of Virginia, Katherine D. Crowley, Erikka Goff, and

  Seijra Toogood hereby move this Court under Fed. R. Civ. P. 21 to drop Erikka Goff as a Party

  and dismiss her claims against Defendants. The grounds for this motion are Ms. Goff’s personal

  life circumstances that have led her to decide to discontinue pursuing her claims as a Plaintiff to

  this action, as set forth in Plaintiffs’ Memorandum in support of this motion, which is filed

  herewith. Upon entry of an order dropping Ms. Goff as a party, Plaintiffs intend to file an Amended
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  Complaint with Ms. Goff removed as a Party and her claims removed, as attached hereto as Exhibit

  A, and in accordance with Fed. R. Civ. P. 15(a)(2).



  Dated: June 15, 2020

  /s/ Vishal Agraharkar
  Vishal Agraharkar (VSB #93265)
  Eden Heilman (VSB #93554)
  AMERICAN CIVIL LIBERTIES UNION
  FOUNDATION OF AMERICA, INC.
  701 E. Franklin Street, Suite 1412
  Richmond, Virginia 23219
  Phone: (804) 644-8080
  Fax: (804) 649-2733
  vagraharkar@acluva.org
  eheilman@acluva.org

  Davin M. Rosborough (VSB # 85935)
  Dale E. Ho*
  Sophia Lin Lakin*
  Theresa J. Lee*
  Adriel I. Cepeda-Derieux*
  American Civil Liberties Union Foundation
  125 Broad Street, 18th Floor
  New York, NY 10004
  Tel.: (212) 549-2500
  drosborough@aclu.org
  dho@aclu.org
  slakin@aclu.org
  tlee@aclu.org
  acepedaderieux@aclu.org

  Attorneys for Plaintiffs

  *Admitted pro hac vice.
